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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEROGIA
                           BRUNSWICK DIVISION


 STACY MILLER,

         Plaintiff,                        CASE NO.: 2:17-CV-00144

 vs.

 CITY OF DARIEN, ET AL,

         Defendant.                   /



           JOINT MOTION TO EXTEND DISCOVERY DEADLINE

        Plaintiff, STACY MILLER, and Defendant, CITY OF DARIAN,

(hereinafter collectively referred to as “the parties”), pursuant to the Federal Rules

of Civil Procedure and Local Rule 6.1, respectfully request an additional thirty (30)

days to complete discovery, and state in support:

        1. The discovery deadline is currently set for March 6, 2019.

        2. The parties have timely exchanged written discovery requests and are in

           the process of scheduling depositions.

        3. Defendant’s counsel took unexpected medical leave in the month of

           February, 2019.
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 4. The parties seek a brief extension of the discovery period in order to

    complete depositions.

 5. Parties therefore request a thirty (30) day extension of discovery until and

    including April 8, 2019.

 6. This is the first request for an extension of discovery.

 7. This request is made in good faith and will not prejudice any party.


 Respectfully submitted this 6th day of March, 2019.



                                                       *With express permission
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